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 EXHIBIT B
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     24                                                                                   HB 974/AP

     House Bill 974 (AS PASSED HOUSE AND SENATE)
     By: Representatives LaHood of the 175th, Anderson of the 10th, Leverett of the 123rd,
     Blackmon of the 146th, Jones of the 25th, and others




                                      A BILL TO BE ENTITLED
                                                 AN ACT


 1   To amend Chapter 2 of Title 21 of the Official Code of Georgia Annotated, relating to
 2   primaries and elections generally, so as to provide that ballots used in optical scan voting
 3   systems shall use paper with a visible watermark security feature; to provide that ballots used
 4   in ballot marking devices shall use paper with a visible watermark security feature; to require
 5   the Secretary of State to establish and maintain a state-wide system for the posting of
 6   scanned paper ballots; to provide for the scanning of tabulated absentee ballots; to provide
 7   for minimum resolution requirements for each such scan; to expand the number of contests
 8   subject to risk-limiting audits; to provide for percentages of risk limits; to provide procedures
 9   for selection of contests subject to risk-limiting audits; to provide for a pilot program to audit
10   paper ballots using optical character recognition; to provide for related matters; to repeal
11   conflicting laws; and for other purposes.


12             BE IT ENACTED BY THE GENERAL ASSEMBLY OF GEORGIA:


13                                            SECTION 1.
14   Chapter 2 of Title 21 of the Official Code of Georgia Annotated, relating to primaries and
15   elections generally, is amended by revising Code Section 21-2-372, relating to ballot
16   descriptions, as follows:


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17    "21-2-372.
18    Ballots shall be of suitable design, size, and stock to permit processing by a ballot scanner
19    and shall be printed in black ink on clear, white, or colored material. Other than ballots
20    delivered electronically to qualified electors who are entitled to vote by absentee ballot
21    under the federal Uniformed and Overseas Citizens Absentee Voting Act, 52 U.S.C.
22    Section 20301, et seq., the ballots shall be printed on security paper that incorporates
23    features which can be used to authenticate the ballot as an official ballot but which do not
24    make the ballot identifiable to a particular elector, provided that at least one such feature
25    is a visible watermark that identifies the ballot as an official Georgia ballot."


26                                           SECTION 2.
27   Said chapter is further amended in Code Section 21-2-379.23, relating to requirements for
28   ballot display, role of Secretary of State, and printed paper ballot controls during recount, by
29   revising subsection (b) as follows:
30    "(b) The form and arrangement of ballots marked and printed by an electronic ballot
31    marker shall be prescribed by the Secretary of State; provided, however, that such ballots
32    shall be printed on security paper that incorporates features which can be used to
33    authenticate the ballot as an official ballot but which do not make the ballot identifiable to
34    a particular elector; provided, further, that at least one such feature is a visible watermark
35    that identifies the ballot as an official Georgia ballot."


36                                           SECTION 3.
37   Said chapter is further amended in Code Section 21-2-386, relating to safekeeping,
38   certification, and validation of absentee ballots, rejection of ballot, delivery of ballots to
39   location designated by superintendent, duties of superintendent and managers, precinct
40   returns, report of returns of verified and accepted absentee ballots cast as soon as possible




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41   following closing of polls, notification of challenged elector, and unlawful disclosure of
42   tabulation results, by adding a new subsection to read as follows:
43    "(g) Notwithstanding any other provision of law to the contrary, including, but not limited
44    to, the certification requirement in paragraph (3) of subsection (a) of Code
45    Section 21-2-300, all absentee ballots tabulated pursuant to this Code section shall be
46    scanned so that there is a digital image of each such ballot. All such scans shall have a
47    resolution of no less than 600 dots per inch, or the highest resolution possible within the
48    certified voting system. All such scans shall be posted and maintained by the program
49    provided for in subsection (j.1) of Code Section 21-2-493."


50                                           SECTION 4.
51   Said chapter is further amended in Code Section 21-2-493, relating to computation,
52   canvassing, and tabulation of returns, investigation of discrepancies in vote counts, recount
53   procedure, pilot program for posting of digital images of scanned paper ballots, certification
54   of returns, and change in returns, by revising subsection (j.1) as follows:
55    "(j.1) The Secretary of State shall create and maintain a pilot state-wide program for the
56    posting of digital images of the scanned paper ballots created by the voting system. All
57    such scans shall have a resolution of no less than 200 dots per inch. Digital images of the
58    scanned ballots created as part of the preliminary tabulation process shall be posted no later
59    than 5:00 P.M. on the second Friday following the day of the election, and such postings
60    shall be supplemented by the posting of any additional ballot images created in the
61    tabulation process through final certification of such election."


62                                           SECTION 5.
63   Said chapter is further amended by revising Code Section 21-2-498, relating to
64   precertification tabulation audits, as follows:




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65    "21-2-498.
66    (a) As used in this Code section, the term:
67        (1) 'Incorrect outcome' means the winner of a contest or the answer to a proposed
68        constitutional amendment or question would be different from the results found in a
69        manual recount of paper official ballots.
70        (2) 'Risk limit' means the largest statistical probability that an incorrect outcome is not
71        detected or corrected in a risk-limiting audit; provided, however, that such probability
72        does not exceed:
73         (A) Eight percent in 2024;
74         (B) Six percent in 2026; and
75         (C) Five percent or less in 2028 and thereafter.
76        (3) 'Risk-limiting audit' means an audit protocol that makes use of statistical methods and
77        is designed to limit to acceptable levels the risk of certifying a preliminary election
78        outcome that constitutes an incorrect outcome.
79        (4) 'Selected contests' means:
80         (A) The contest at the top of a ballot; and
81         (B) If the following races are on a ballot, one contest from the following races as
82         selected pursuant to subsection (d) of this Code section: United States Senate,
83         Governor, Lieutenant Governor, Secretary of State, Attorney General, State School
84         Superintendent, Commissioner of Insurance, Commissioner of Agriculture,
85         Commissioner of Labor, Supreme Court Justice, Judge of the Court of Appeals, or
86         Public Service Commissioner, provided that such selected contest is not the race at the
87         top of the ballot.
88    (b) Local election superintendents shall conduct precertification tabulation or risk-limiting
89    audits on one contest selected contests following any election, special election, election
90    runoff, special election runoff, primary, special primary, primary runoff, or special primary
91    runoff with federal presidential, United States Senate, or state-wide contests in accordance


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 92    with requirements set forth by rule or regulation of the State Election Board. Audits
 93    performed under this Code section shall be conducted by manual inspection of random
 94    samples of the paper official ballots.
 95    (c) In conducting each audit, the local election superintendents shall:
 96        (1) Complete the audit prior to final certification of the contest contests;
 97        (2) Ensure that all types of ballots are included in the audit, whether cast in person, by
 98        absentee ballot, advance voting, provisional ballot, or otherwise;
 99        (3) Provide a report of the unofficial final tabulated vote results for the contest contests
100        to the public prior to conducting the audit;
101        (4) Complete the audit in public view; and
102        (5) Provide details of the audit to the public within 48 hours of completion.
103    (d) In the event that multiple qualified races are on a ballot, one race in addition to the race
104    at the top of the ballot shall be selected as a selected contest for auditing pursuant to this
105    Code section. The additional selected contest shall be selected by majority vote of the
106    Governor, Lieutenant Governor, and the Speaker of the House of Representatives, the
107    minority leader of the Senate, and the minority leader of the House of Representatives;
108    provided, however, that, in the event that a majority vote cannot be obtained by 11:00 A.M.
109    on the Thursday immediately following the election, special election, election runoff,
110    special election runoff, primary, special primary, primary runoff, or special primary runoff,
111    the additional selected contest shall be selected by the chairperson of the State Election
112    Board. The selection vote required by this subsection does not need to occur in person;
113    such vote may be accomplished telephonically, virtually, or via written or electronic
114    correspondence.
115    (d)(e) The State Election Board shall be authorized to promulgate rules, regulations, and
116    procedures to implement and administer the provisions of this Code section. The
117    procedures prescribed by the State Election Board shall include security procedures to




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118    ensure that collection of validly cast ballots is complete, accurate, and trustworthy
119    throughout the audit.
120    (f) Nothing in this Code section shall prevent an election superintendent from conducting
121    tabulation or risk-limiting audits in additional contests if circumstances warrant the
122    auditing of one or more additional contests than those required by this Code section."


123                                           SECTION 6.
124   Said chapter is further amended by adding a new Code section to read as follows:
125    "21-2-498.1.
126    The Secretary of State shall create a pilot program for the auditing of paper ballot images
127    using optical character recognition technology or other related technology which shall
128    verify the human-readable text portion of the ballot. Such auditing program shall not be
129    based on or tabulate any QR code, bar code, or similar machine coding that may be printed
130    on such ballots. Such audits shall include all ballot types, and the audit findings shall be
131    reported prior to final certification of the election."


132                                           SECTION 7.
133   All laws and parts of laws in conflict with this Act are repealed.




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